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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
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Dongguk University,

                                              Plaintiff,
                  -against-
                                                                    Case No. 08-cv-0441 (TLM)
Yale University,

                                               Defendant
--------------------------------------------------------------X

                  Ruling on Defendant’s Motion for Reconsideration [Rec. Doc. 329]

        Before the Court is defendant Yale University’s Motion for Reconsideration [Rec. Doc. 329]

of the Court’s February 10, 2012 Ruling on Defendant’s Motion for Summary Judgment [Rec. Doc.

324], and plaintiff Dongguk University’s Memorandum in Opposition thereto [Rec. Doc. 332].

        After due consideration of Yale’s Motion and Dongguk’s Opposition, it is

        ORDERED that Yale’s Motion is GRANTED with respect to Dongguk’s claim for

defamation damages arising from the alleged loss of grants and the denial of its application to open

a law school and with respect to Dongguk’s negligence claim in its entirety, and is DENIED in all

other respects.

        The Court will, in due course, issue written reasons for its Ruling.

        SO ORDERED.

                                                              _________________________
                                                              Tucker L. Melançon
                                                              United States District Judge
March 26, 2012
Bridgeport, CT
